                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF IOWA


 TARA WEIR,as Successor in Interest to
                                                    CASE NO.:     21-16
 AMANDA STOUDT,
                                                    LINN COUNTY CASE NO.LACV096733
        Plaintiff,

 vs.


                                                    NOTICE OF REMOVAL
 PROGRESSIVE UNIVERSAL
 INSURANCE CO,and PROGRESSIVE
 DIRECT INSURANCE COMPANY,

        Defendant.


       COMES NOW Defendant, Progressive Universal Insurance Co. and Progressive Direct

Insurance Company ("Progressive"), a national insurance company with its principal place of

business in Mayfield,Cuyahoga County,Ohio,by and through its undersigned counsel,and hereby

provides notice pursuant to 28 U.S.C. § 1446 ofthe removal ofthe above-captioned case from the

Iowa District Court for Linn County to the United States District Court for the Northern District

ofIowa. The grounds for removal are as follows:

       1.     Plaintiff, Tara Weir as Successor in Interest to Amanda Stoudt, commenced this

action by filing suit in the District Court of Linn County,Iowa, No. LACV096733,on December

31,2020.

       2.     Plaintiffs counsel provided a copy of the Summons and Complaint to the

Defendant on January 7, 2021. True and correct copies of the Summons and Complaint are

attached hereto as Exhibit A.

       3.     There are no other Defendants to this action, so no additional consent is required

for the removal ofthis case to Federal Court.
       4.      Removal is timely pursuant to 28 U.S.C. § 1446(b)(3), in that this Notice is being

filed within thirty (30)days after the Defendant was served.

       5.      Concurrent with the filing of this Notice, Defendant is serving this Notice on

Plaintiff and filing a copy ofthe Notice with the Clerk ofthe Iowa District Court for Linn County

       6. As this case is currently pending in the Iowa District Court for Linn County,

which is located in the Northern District of Iowa, venue is proper, and it may be removed to the

United States District Court for the Northern District ofIowa.

                               DIVERSITY OF CITIZENSHIP


       7.      The Court has original jurisdiction over this action pursuant to 28 U.S.C. § 1332.

Diversity jurisdiction exists where (1)the amount in controversy exceeds $75,000.00, exclusive

of interests and costs; and(2)the suit is between citizens of different states. Lincoln Property Co.

V. Roche,546 U.S. 81, 89(2005).

       8.      At all relevant times hereto, as alleged in the Complaint, Plaintiff was a resident of

Cedar Rapids, Linn County,Iowa.See Petition at 1.

       9.      Defendant, Progressive Universal Insurance Company,a Wisconsin company, is a

wholly owned subsidiary of Progressive Direct Holdings, Inc., a Delaware company, which is a

wholly owned subsidiary ofThe Progressive Corporation, an Ohio publicly traded company.

       10.     Defendant, Progressive Direct Insurance Company, an Ohio company,is a wholly

owned subsidiary of Progressive Direct Holdings, Inc., a Delaware company, which is a wholly

owned subsidiary of The Progressive Corporation, an Ohio publicly traded company.

       11.     Accordingly, complete diversity exists in this action.
                                AMOUNT IN CONTROVERSY


       12.     The amount in controversy requirement of28 U.S.C. § 1332 is also satisfied. Under

28 U.S.C. § 1332(a), the amount in controversy in a case where federal jurisdiction is based on

diversity of citizenship must exceed $75,000, exclusive of interest and costs. OnePoint Solutions,

LLC V. Bochert,486 F.3d 342,346(8^ Cir. 2007).

       13.     In the state court Petition, Plaintiff seeks damages for alleged bad faith and breach

offiduciary duty by Defendants. Plaintiff seeks the amount ofthe policy limits, $100,000.

       14.     Based on PlaintifTs allegations respecting damages, the amount in controversy is

greater than $75,000, exclusive of interest and costs.

       15.     Because both requirements for federal diversity jurisdiction are satisfied, this case

is removable to this Court by Defendant.

       WHEREFORE, Defendant, Progressive, gives notice that the above-captioned action is

removed from the District Court for Linn County,Iowa to this Honorable Court.

                        day of February, 2021,

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                                             ATTORNEYS FOR DEFENDANT
                                CERTIFICATE OF SERVICE


       I certify that on February 3 ,2021,1 electronically filed the foregoing with the Clerk
of Court using the Court's CM/ECF system, which will send notification of such filing to all

parties. Parties may access this filing through the Court's system.

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                                                     /s/Patrick L Sealev
